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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF NEW MEXICO

__________________________________________
                                                    )
          UNITED STATES OF AMERICA,                 )
                                                    )
                             Plaintiff,             )
                                                    )
                v.                                  )
                                                    )
          THE CITY OF ALBUQUERQUE,                  )
                                                    )
                             Defendant,             )      CIVIL NO: 1:14-cv-01025-JB-SMV
                                                    )
                v.                                  )
                                                    )
          THE ALBUQUERQUE POLICE                    )
          OFFICERS’ ASSOCIATION,                    )
                                                    )
                             Intervenor.            )
                                                    )
                                                    )

                 ALBUQUERQUE POLICE OFFICERS ASSOCIATION’S
               NOTICE OF WITHDRAWAL OF MOTION TO SET HEARING

          COMES NOW the Albuquerque Police Officers’ Association (“APOA”), by and through

its counsel, The Law Offices of Sanchez, Mowrer & Desiderio, P.C. (Frederick M. Mowrer), and

The D’Amato Law Firm, P.C. (John J. D’Amato), and NOTIFIES THE COURT it wishes to

withdraw the Motion to Set Hearing filed by the APOA on November 26, 2019 (Doc 495) and as

grounds in support therefore would state the Court has entered an order addressing this matter. In

light of the relief sought herein, the APOA has not sought the consent of the other parties to this

matter.




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                                           Respectfully submitted,

                                           SANCHEZ, MOWRER & DESIDERIO, P.C.

                                           /s/ Frederick M. Mowrer
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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 19th day of December, 2019, the foregoing document entitled
“Albuquerque Police Officers Association’s Notice of Withdrawal of Motion to Set Hearing” was
filed electronically through the CM/ECF system, which caused the parties, counsel of record and
independent monitor on the service list to be served by electronic means.




/s/ Frederick M. Mowrer
FREDERICK M. MOWRER




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